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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 HOPI TRIBE, et al.,                           )
                                               )
       Plaintiffs,                             )
                                               )
 v.                                            )         Case No. 1:17-cv-02590 (TSC)
                                               )
 JOSEPH R. BIDEN, in his official capacity     )
 as President of the United States, et al.,    )
                                               )
      Defendants.                              )
                                               )
                                               )
 UTAH DINÉ BIKÉYAH, et al.,                    )
                                               )
       Plaintiffs,                             )
                                               )
 v.                                            )         Case No. 1:17-cv-02605 (TSC)
                                               )
 JOSEPH R. BIDEN, in his official capacity     )
 as President of the United States, et al.,    )
                                               )
     Defendants.                               )
 ___________________________________           )
                                               )
                                               )
 NATURAL RESOURCES DEFENSE                     )
 COUNCIL, et al.,                              )
                                               )
       Plaintiffs,                             )
                                               )         Case No. 1:17-cv-02606 (TSC)
 v.                                            )
                                               )
 JOSEPH R. BIDEN, in his official capacity     )
 as President of the United States, et al.,    )
                                               )          CONSOLIDATED CASES
      Defendants.                              )
                                               )

                                   JOINT STATUS REPORT

        Pursuant to the Court’s order of March 8, 2021, ECF No. 201, the parties hereby submit

this joint status report.

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                                         BACKGROUND

       The Court previously ordered the parties to file a joint status report by March 5, 2021,

addressing how this case should proceed in light of Executive Order 13990, entitled “Protecting

Public Health and the Environment and Restoring Science to Tackle the Climate Crisis,” 86 Fed.

Reg. 7,037 (Jan. 20, 2021) (hereinafter “E.O. 13990”). E.O. 13990 instructed the Secretary of

the Interior (“Secretary”) to, in consultation with the Attorney General, the Secretaries of

Agriculture and Commerce, the Chair of the Council on Environmental Quality, and Tribal

governments, conduct a review of “the monument boundaries and conditions that were

established by Proclamation 9681 . . . to determine whether restoration of the monument

boundaries and conditions that existed as of January 20, 2017 would be appropriate.” Section

3(a) of E.O. 13990 further instructed the Secretary to submit, within sixty days, a report to the

President summarizing the findings of the review—and making recommendations for “such

Presidential actions or other actions consistent with law as the Secretary may consider

appropriate to carry out the policy” set forth in the executive order. E.O. 13990, § 3(b).

       On March 8, 2021, the Court granted Federal Defendants’ unopposed request to stay

proceedings in this case and ordered the parties to file a joint status report advising the Court:

(1) whether the current dispute has been mooted or the parties anticipate that it will be mooted;

(2) whether the parties wish to continue to stay this action for any reason, including the parties'

negotiations over resolving this dispute; or (3) whether the parties agree that this litigation

should continue as anticipated pursuant to the federal rules, local rules or a scheduling order.

ECF No. 201 at 2-3.

                                           DISCUSSION

       Since the Court issued its Order on March 8, 2021, E.O. 13990’s sixty-day deadline for


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the Secretary to provide a report to the President was extended to ensure that the Secretary’s

findings and recommendations benefitted from her visit to Utah. During that visit, which

occurred in April, the Secretary visited lands in the area of the national monument at issue in

this case and met with elected officials, Tribal leaders, and stakeholders invested in the

stewardship of the monument. The Department of the Interior transmitted the report

summarizing the findings and recommendations to the President on June 2, 2021.

       The parties believe that the Court should continue the stay to allow the President to

consider the findings and recommendations in the report. Continuing the stay and allowing the

President to consider, and potentially act on, the report’s findings and recommendations would

better situate the parties to answer the questions in the Court’s March 8, 2021 Minute Order

concerning whether the current dispute has been or will be mooted or whether the current

litigation should continue.

       Accordingly, the parties respectfully request that the Court continue the current stay and

require the parties to file another joint status report by July 13, 2021. Under the Court’s March

8, 2021 order, a joint status report would otherwise be due on July 6, 2021, but the parties

respectfully request that the Court extend that deadline by seven days to avoid complications in

conferring arising from the potential unavailability of parties and counsel due to the July 4

holiday.

       Respectfully submitted this 3rd day of June, 2021,


 JEAN E. WILLIAMS
 Acting Assistant Attorney General

   /s/ Romney S. Philpott
 Romney S. Philpott                                  Judith E. Coleman
 U.S. Department of Justice                          U.S. Department of Justice
 Environment and Natural Resources Division          Environment and Natural Resources Division

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Natural Resources Section                       Natural Resources Section
999 18th St., #370                              P.O. Box 7611
Denver, CO 80202                                Benjamin Franklin Station
Phone: 303-844-1810                             Washington, D.C. 20044
Fax: 303-844-1350                               Phone: 202-514-3553
E-mail: Romney.Philpott@usdoj.gov               E-mail: Judith.Coleman@usdoj.gov

Attorneys for Federal Defendants


/s/ Matthew Lee Campbell (with consent)         /s/ Paul Spruhan (with consent)
Matthew Lee Campbell                            Paul Spruhan, Asst. Attorney General
NATIVE AMERICAN RIGHTS FUND                     Jason Searle, Attorney
1506 Broadway                                   Litigation and Employment Unit
Boulder, CO 80302                               NAVAJO NATION DEPARTMENT OF
Phone: (303) 447-8760                           JUSTICE
Fax: (303) 443-7776                             Post Office Box 2010
Email: mcampbell@narf.org                       Window Rock, Arizona (Navajo Nation)
                                                86515
Attorney for the Hopi Tribe, Ute Mountain       Phone: (928) 871-6210
Ute Tribe and Pueblo of Zuni                    Fax: (928) 871-6177
                                                Email: pspruhan@nndoj.org
                                                        jasearle@nndoj.org

                                                Attorneys for the Navajo Nation


/s/ Rollie Wilson (with consent)
Rollie Wilson
PATTERSON EARNHART REAL BIRD &                  Jeffrey S. Rasmussen, pro hac vice
WILSON LLP                                      PATTERSON EARNHART REAL BIRD &
601 Pennsylvania Ave., NW                       WILSON LLP
South Building, Suite 900                       357 S. McCaslin Blvd., Suite 200
Washington, D.C. 20004                          Louisville, CO 80027
Phone: (202) 434-8093                           Phone: (303) 926-5292
Fax: (202) 639-8238                             Fax: (303) 926-5293
Email: rwilson@nativelawgroup.com               Email: jrasmussen@nativelawgroup.com

Attorneys for the Ute Indian Tribe


(signatures continued on the next page)




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/s/ Lloyd Miller (with consent)
Lloyd Miller                                        David Mielke
SONOSKY, CHAMBERS, SACHSE,                          SONOSKY, CHAMBERS, SACHSE,
MILLER & MONKMAN LLP                                MILLER, MIELKE & BROWNELL LLP
725 East Fireweed Lane                              500 Marquette Avenue, NW
Suite 420                                           Suite 660
Anchorage, AK 99503                                 Albuquerque, NM 87102
Phone: (907) 258-6377                               Phone: (505) 247-0147
Fax: (907) 272-8332                                 Fax: (505) 843-6912
Email: lloyd@sonosky.net                            Email: dmielke@abqsonosky.com

Attorneys for the Zuni Tribe


/s/ Adam Kushner (with consent)                     Sundeep Iyer
Adam Kushner                                        Hogan Lovells US LLP
Hogan Lovells US LLP                                390 Madison Avenue
555 Thirteenth Street NW                            New York, NY 10017
Washington, D.C. 20004                              Phone: 212-918-3000
Phone: 202-637-5600                                 Fax: 212-918-3100
Fax: 202-637-5910                                   Email: sundeep.iyer@hoganlovells.com
E-mail: adam.kushner@hoganlovells.com

 Attorneys for Plaintiffs Utah Diné Bikéyah,
Friends of Cedar Mesa, Archaeology
Southwest, Conservation Lands Foundation,
Inc., Patagonia Works, The Access Fund, the
National Trust for Historic Preservation, and
the Society of Vertebrate Paleontology

                                                    /s/ Heidi McIntosh (with consent)
/s/ Stephen H. M. Bloch (with consent)              Heidi McIntosh
Stephen H.M. Bloch                                  Earthjustice
Southern Utah Wilderness Alliance                   633 17th Street, Suite 1600
425 East 100 South                                  Denver, CO 80202
Salt Lake City, UT 84111                            Tel.: (303) 623-9466
Tel.: (801) 486-3161                                E-mail: hmcintosh@earthjustice.org
E-mail: steve@suwa.org
                                                    Counsel for National Parks Conservation
Counsel for Southern Utah Wilderness                Association, The Wilderness Society,
Alliance                                            Defenders of Wildlife, Grand Canyon Trust,
                                                    Great Old Broads for Wilderness, Western
                                                    Watersheds Project, WildEarth Guardians,
                                                    Sierra Club, and Center for Biological
                                                    Diversity



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/s/ Katherine Desormeau (with consent)
Katherine Desormeau
Natural Resources Defense Council
111 Sutter Street, 21st Floor
San Francisco, CA 94104
Tel.: (415) 875-6158
E-mail: kdesormeau@nrdc.org
Counsel for Natural Resources Defense
Council

                                                Tyler R. Green
/s/ Anthony L. Rampton (with consent)           CONSOVOY MCCARTHY PLLC
Anthony L. Rampton                              222 S. Main Street
UTAH ATTORNEY GENERAL'S OFFICE                  5th Floor
5110 State Office Building                      Salt Lake City, UT 84101
Salt Lake City, UT 84114                        703-243-9423
(801) 537-9819                                  Email: tyler@consovoymccarthy.com
Email: arampton@agutah.gov

Megan Evelyn Garrett
Richard Ellison Mansfield
MITCHELL BARLOW & MANSFIELD,
P.C.
9 Exchange Place, Suite 600
Salt Lake City, UT 84111
316-308-0632
Email: mgarrett@mbmlawyers.com

Attorneys for the State of Utah
                                       JONATHAN WOOD
                                       D.C. Bar No. 1045015
/s/ Jeffrey W. McCoy (with consent)    jwood@pacificlegal.org
JEFFREY W. McCOY (Colo. Bar No. 43562) TODD F. GAZIANO
(admitted pro hac vice)                Tex. Bar No. 07742200
jmccoy@pacificlegal.org                tgaziano@pacificlegal.org
OLIVER J. DUNFORD (Ohio Bar No.73933) Pacific Legal Foundation
odunford@pacificlegal.org              3100 Clarendon Blvd., Suite 610
Pacific Legal Foundation               Arlington, Virginia 22201
930 G Street                           Telephone: (202) 888-6881
Sacramento, California 95814
Telephone: (916) 419-7111

Attorneys for Defendants-Intervenors
Brian Sulser, Big Game Forever, Sportsmen
for Fish & Wildlife, Utah Bowmen’s              (signatures continued on the next page)
Association, Utah Wild Sheep Foundation,
Michael Noel, and Sandy and Gail Johnson

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/s/ William G. Myers III (with consent)
William G. Myers III
DC Bar No. 408573
HOLLAND & HART LLP
P.O. Box 2527
Boise, Idaho 83701-2527
Telephone: (208) 342-5000
E-mail: wmyers@hollandhart.com

Victoria A. Marquis
Montana Bar No. 13226
(admitted pro hac vice)
HOLLAND & HART LLP
P.O. Box 639
Billings, Montana 59103
Telephone: (406) 252-2166
E-mail: vamarquis@hollandhart.com

Attorneys for Defendant-Intervenors
American Farm Bureau Federation and Utah
Farm Bureau Federation




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                                  CERTIFICATE OF SERVICE


        I hereby certify that on June 3, 2021, I electronically filed the foregoing document and

its attachment with the Clerk of the Court using the CM/ECF system, which will send

notification of the filing to all parties.



                                                     /s/ Romney S. Philpott
                                                     Romney S. Philpott




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